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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION
                          ____________________

PHYLLIS SAXON, SANDRA IVERSON, )
THE METLEN HOTEL, and OLD WEST )
SALOON, LLC,                            )
                                        )
                    Plaintiffs,         )
       -vs-                             )      Cause No. CV-19-16-BU-SEH
                                        )
CITY OF DILLON, MONTANA, a body )              AMENDED JUDGMENT
politic, DILLON POLICE CHIEF PAUL )
CRAFT, in his individual and official   )
capacity, DILLON POLICE CHIEF           )
DONALD GUIBERSON, in his individual )
and official capacity, and OFFICER      )
JOSEPH HORROCKS, in his individual      )
and official capacity, and JOHN DOES I- )
X,                                      )
                    Defendants.         )
                                        )

      _____ Jury Verdict. This action came before the Court for a trial by jury.
The issues have been tried and the jury has rendered its verdict.

        X Decision by Court. This action came before the Court for bench trial,
hearing, or determination on the record. A decision has been rendered.

       IT IS ORDERED AND ADJUDGED pursuant to Orders (Docs. 83, 152,
169 and 184), Judgment is entered in favor of the Defendants and against the
Plaintiffs.

      DATED this 11th day of January, 2021.

                                      TYLER P. GILMAN, CLERK


                                      By:
                                            Deputy Clerk
